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                       IN THE UNITED STATES DISTRICT COURT 2016 NOV                   -7 PH 5: 2'
                           DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


United States of America,                     )
                                              )         Criminal No. 2: 15-472-RMG
       vs.                                    )
                                              )
Dylann Storm Roof,                            )         MEMORANDUM OPINION
                                              )



       Today, November 7, 2016, at 9 AM. in open court, the Court gave notice that it had

received a motion earlier that morning that required an immediate hearing. The Court stated that

it intended to hold the hearing at 11 A.M. today, that it intended to conduct the hearing outside

the presence of Government counsel and closed to the public, and that if any interested person

wished to object to the closing of the hearing she or he could do so at 10 AM.

       The Court heard objections at 10 A.M. today. Members of the media from The Post &

Courier, WCSC, Thompson Reuters, and The State objected to the closure, as did a concerned

citizen. All members of the media that spoke asked that a transcript for any portion of the

hearing that does not involve attorney-client privilege be released as soon as possible. The

individual from the The State also asked the Court to release the subject matter of the hearing,

and the individual from Thompson Reuters also asked for a schedule for the release of a

transcript. The individual from WCSC noted the short notice that media had to register

objections.

       At the 10 A.M. hearing, the Court ordered the 11 AM. to be closed and conducted ex

parte. This memorandum opinion memorializes the findings upon which the Court's decision


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was based. As set forth below, the Court determined that closing the hearing was necessary to

protect the attorney-client privilege and the constitutional rights of Defendant. The Court found

that conducting this hearing in public would destroy the confidentiality of attorney-client

communications and that there was a substantial probability that holding the hearing in public

would prejudice Defendant's right to fair trial, right to a fair and impartial jury, and right to

assistance of counsel.

                                         1. Lt:2al Standard

       Any consideration for the closing of a court proceeding begins with the strong

presumption in favor of open proceedings, and this extends to pre-trial, trial and post-trial

matters in a criminal case. In re Washington Post, 807 F.2d 383, 390-91(4th Cir. 1986). The

right to open court proceedings, which is grounded in the First Amendment, is not absolute and

must yield to a defendant's Sixth Amendment rights. In re s.c. Press Ass 'n, 946 F. 2d 1037,

1041 (4th Cir. 1991). The closing of court proceedings should, however, be a rare event, and the

Court's justification "must be a weighty one" in which there is "a compelling governmental

interest [in the closure ofthe proceeding] and is narrowly tailored to serve that interest." Globe

Newspaper Co. v. Super. Ct.for Norfolk Cty., 457 U.S. 596, 606-07 (1982).

       To support the closure of a court proceeding, the trial court must determine whether the

situation is such that the rights of the accused override the qualified First Amendment right of

access. Id. Before criminal proceedings can be closed, the trial court must make "specific, on

the record findings ... demonstrating that closure is essential to preserve higher values and is

narrowly tailored to serve that interest." Id. at 13-14. These "higher values" include a




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Defendant's right to the selection of a fair and impartial jury, Defendant's right to a fair trial, and

Defendant's right to assistance of counsel, all protected by the Sixth Amendment.

                                            II. Discussion

       The Defendant was indicted by a federal grand jury sitting in Charleston, South Carolina

on July 20, 20] 5, charging him with 33 counts related to the deaths of 9 persons and alleged

attempted murder of 3 others at Mother Emanuel African Methodist Episcopal Church in

downtown Charleston. (Dkt. No.1). Eighteen of these counts are potential capital offenses.

(Dkt. No.3). This matter has received extraordinary local, national and international coverage.




counsel moved for an ex parte hearing




                                                                 The Court necessarily had to delve

into attorney-client communications during this proceeding




       Ex parte hearings, conducted without the other party (or the public) present are

appropriate where attorney-client communications will be discussed. See, e.g., United States v.

Felder, 389 F. App'x Ill, 116-17 (3d Cir. 2010) (ex parte hearing held to determine whether



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counsel could proceed without committing an ethical violation); United States v. Hutchinson,

573 F.3d 1011, 1025 (lOth Cir. 2009) (ex parte hearing held on motion to substitute counsel);

United States v. Fields, 483 F.3d 313, 352 (5th Cir. 2007) (ex parte hearing held on motion to

substitute counsel); United States v. Harris, No. 2:I4CR76, 2014 WL 5740515, at *4 (E.D. Va.

Aug. 15,2014) (ex parte hearing to determine if crime-fraud exception to attorney-client

privilege applied); Yurick ex rei. Yurick v. Liberty Mut. Ins. Co., 201 F .R.D. 465, 467 (D. Ariz.

2001) (ex parte hearing to determine whether documents were subject to the attorney-client

privilege). It was clear to this Court that much, if not all, of the II A.M. hearing would require

the discussion of privileged attorney-client communications. The only way to protect that

privilege was to close the hearing and conduct it ex parte. Therefore, the hearing was

appropriately closed to protect the attorney-client privilege.

       Furthermore, the Court has not determined the admissibility

_ T h e Court found that,

                                            there is a substantial probability that the publicit.

                                                        would prejudice Defendant's right to a fair

trial. The Court is in the midst ofjury selection in this case. Prospective jurors have reported to

the courthouse today and have been sent home. This is an unusually sensitive period in this

proceeding where highly prejudicial pre-trial publicity could taint the jury pool and make

selection of a fair and impartial jury increasingly challenging. Although the Court has instructed

prospective jurors to avoid media coverage, as one journalist noted at today's 10 A.M. hearing,

the country and the world are watching. Given the pervasive coverage of to day's proceedings, a

prospective juror may accidently overhear some information.                                should



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not be part of that information. The Supreme Court "has long recognized that adverse publicity

can endanger the ability of a defendant to receive a fair trial." Gannett Co. v. DePasquale, 443

U.S. 368, 378 (1979). The Court found a substantial probability that it would do so here.

       The Court also found that there is a substantial probability that closure would prevent

that prejudice. By closing the hearing, the Court was not only protecting the attorney-client

privilege but preventing prejudice to the Defendant's Sixth Amendment rights by not exposing

prospective jurors                                                                  to the Court's

determination of admissibility

       Finally, the Court found that no reasonable alternative to closure could adequately protect

Defendant's Sixth Amendment rights. The Court is fully aware that voir dire is the "preferred

safeguard" against the potential prejudice of pretrial publicity if that device can cure the

prejudice emanating from the disclosure of what might be determined to be inadmissible

evidence. In re Charlotte Observer (Div. ofKnight Pub. Co.), 882 F.2d 850,855 (4th Cir. 1989).

Certainly, in most cases, voir dire can screen out and cure the potential prejudice from pretrial

publicity. But there are rare cases-and the Court finds this is one such case-in which the nature

of the topic to be discussed is so prejudicial that voir dire cannot cure the problem. Voir dire

cannot correct the problem of destroying the attorney-client privilege or undo the effect

publically revealing privileged communications could have on Defendant's Sixth Amendment

right to assistance of counsel. The Court also found voir dire will be ineffective to cure the

prejudice                                  be revealed to jurors and _          later be determined

to be inadmissible.




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                                           III. Conclusion

        For the reasons stated above, the Court found Defendant's Sixth Amendment rights to a

fair trial, a fair and impartial jury, and assistance of counsel and the interest of preserving

attorney-client privilege bet\Veen a criminal defendant and his counsel out\Veighed the First

Amended right of access to these proceedings.

       AND IT IS SO ORDERED.




                                                       United States District Judge

November   7  ,2016
Charleston, South Carolina




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